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United States District Court
for the District of Columbia
Washington, D.C. 20001

 

Chambecs of (202) 354-»3260
Emmet G. Sullivan

United States Distclct Judge 1 April ll, 2008

John B. Bellingcr, III

chal Advisor

Unltcd Statcs Departmcnt of State
2201 C Street, N.W.

Washington, D.C. 20520

 

~- Re: Rocder, et al. v. Islamlc Republlc of Iran
Civil Action No. 08--0487 (EGS)
United Statcs Dlstrlct Court for the Dlstrict of Columbla

Dcar Mr;. Belllngcr:

I am presiding over a lawsuit pending in thc Unltcd States District Court for the Dlstrict
of Columbia against the Islamlc Republic of Iran. Thc lawsuit was filed by individuals seeking
damages arising from the Novcmbcr 1979 seizure of hostages from the American Embassy and
from the Foreign l\/[lnistry in Iran. Prcviously, plaintiffs brought these claims before this Court in
Roeder, et al. v. Islamic Republic of Iran, 00-3110. On the eve of trial in the previous action, thc

United Statcs filed a motion to intervene and a motion to dismiss the case, both of which thc
Court granted

The Court invites thc Dcpartmcnt of Statc to file a Statcmcnt of Intcrcst in the present
case, if appropriate, pursuant to 28 U.S.C. § 517. A copy of any such response should also bc
sent to plaintiffs’ counscl. If thc Dcpartmcnt of Statc would like to file a Statcment of Interest,
thc Court would appreciate a response by J unc 14, 2008. A copy of the complaint is enclosed for
your review, as is thc Court’s Aprll 18, 2002 Opinion dismissing Roeder, et al. v. Islamic

Republic of Iran, 00--3110 and thc opinion rendered by the United Statcs Court of Appeals for thc
District of Columbla Clrcuit affirming this Court’s dccislon. __1

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Emmet G. Sullivan
Enclosurcs

cc: Wllliam F Coff`lcld, IV Esq. ., via electronic case filing (ECF)
Terrancc G Rccd, Esq., via ECF

Vemon T. Lankford, Esq., via ECF
James Jordan Gilllgan, Esq., cncl.

